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 1                       UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
 2
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 3                                   )
        United States of America,    )   File No. 15-cr-199(1)
 4                                   )            (DSD/FLN)
                Plaintiff,           )
 5                                   )
        v.                           )
 6                                   )
        Phillip Howell,              )   Courtroom 14W
 7                                   )   Minneapolis, Minnesota
                Defendant.           )   Monday, April 18, 2016
 8                                   )   2:01 p.m.
       ------------------------------------------------------------
 9
                     BEFORE THE HONORABLE DAVID S. DOTY
10                UNITED STATES DISTRICT COURT SENIOR JUDGE
                            (SENTENCING HEARING)
11
       APPEARANCES
12      For the Plaintiff:          UNITED STATES ATTORNEY'S OFFICE
                                    BY: JEFFREY S. PAULSEN, AUSA
13                                  600 United States Courthouse
                                    300 South Fourth Street
14                                  Minneapolis, Minnesota 55415

15
        For the Defendant:          EARL GRAY DEFENSE
16                                  BY: EARL P. GRAY, ESQ.
                                    332 Minnesota Street, Ste. W-1610
17                                  St. Paul, Minnesota 55101

18
        Court Reporter:             RENEE A. ROGGE, RMR-CRR
19                                  1005 United States Courthouse
                                    300 South Fourth Street
20                                  Minneapolis, Minnesota 55415

21

22         Proceedings recorded by mechanical stenography;
       transcript produced by computer.
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 1                             P R O C E E D I N G S

 2                                IN OPEN COURT

 3                 THE COURT:    Good afternoon.    Do you want to take

 4     your seats, except for those who are going to take part, if

 5     they would come up to the podium, please.

 6                 This is the matter of the United States versus

 7     Phillip Howell.

 8                 And may I have appearances, please?

 9                 MR. PAULSEN:    Good afternoon.     Jeff Paulsen for

10     the United States.

11                 THE COURT:    Good afternoon.

12                 MR. GRAY:    Good afternoon, Your Honor.      Earl Gray

13     representing --

14                 THE COURT:    Do you want Mr. Howell to come on up,

15     please, too?

16                 MR. GRAY:    -- Phillip Howell.     He's present and

17     standing next to me.

18                 THE COURT:    Mr. Gray, I know that you had a chance

19     to read the presentence report.       I have read your materials.

20     And is there anything more about the report itself?

21                 MR. GRAY:    No, Your Honor.

22                 THE COURT:    Have you gone over that report with

23     Mr. Howell?

24                 MR. GRAY:    Yes, sir.

25                 THE COURT:    Anything you would like to say on



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 1     behalf of Mr. Howell as far as allocution goes?

 2                 MR. GRAY:    Yes, Your Honor.

 3                 THE COURT:    Yes?

 4                 MR. GRAY:    I'm not quite sure of the procedure,

 5     but I just -- I did file a position paper with respect to

 6     Mr. Howell asking that --

 7                 THE COURT:    "Just" meaning when?

 8                 MR. GRAY:    Pardon me, Your Honor?

 9                 THE COURT:    "Just" meaning -- I have a position

10     paper from you that I read.

11                 MR. GRAY:    Right.

12                 THE COURT:    That's the one?

13                 MR. GRAY:    Yes.

14                 THE COURT:    Okay.    Not filed today?

15                 MR. GRAY:    No, no.   I'm not that tardy.     After Mr.

16     Paulsen filed his position, I filed a response to that.

17                 THE COURT:    Yes, you did.    I noticed that.

18                 MR. GRAY:    And my argument, Your Honor, is that

19     this is a gun case.      It's 37 to 46 months.     He's got one

20     prior felony, and that's a low-level felony in the state

21     court.   He got a year and a day, and he did that.         With

22     respect to the misdemeanors, he has one misdemeanor in Santa

23     Clara, California, and in that misdemeanor he got 4 points

24     because one of the guns, the first gun, in August, caused

25     him to get 4 points instead of 2.       Besides those



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 1     convictions, Your Honor, he doesn't have much of a record.

 2                 I don't know when you want me to -- if you want me

 3     to address the government's motion now?

 4                 THE COURT:    Sure.

 5                 MR. GRAY:    Okay.    Well, the government has filed a

 6     motion for 60 months, and it says the Denver case that he

 7     had a -- that he had possessed a gun.        He's not been

 8     convicted of that.      There was no gun seen on him.      It was a

 9     bulge in his pocket, not a gun.       There is probable cause for

10     that.   I don't dispute that.      I'm not disputing the court

11     can take that into consideration.       But with respect to the,

12     you know, some of the innuendo in there about the gun

13     wrapped in the handkerchief and that's what criminals --

14                 THE COURT:    I think it was a sock, by the way.

15                 MR. GRAY:    All right.    Sock, yes.   -- and that's

16     what criminals do, that's sort of far-fetched.          They also

17     wrap guns in a sock to stop the gun from being rusty and for

18     no accidental discharge.

19                 In any event, getting down to the real serious

20     allegation here by the government is that he was involved in

21     this triple homicide, Your Honor, and I filed the newspaper

22     article.   The government makes a statement that we have

23     arrested Mr. Howell on a gun charge and he's going to be

24     indicted on a murder case.        It never happened.    And I would

25     ask the court not to consider evidence, if there is any,



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 1     from seven years ago that he's never been charged with, not

 2     even probable cause for a complaint.        And I realize the

 3     newspaper can do what it wants with respect to putting your

 4     name in there, as far as a suspect, but it shouldn't be

 5     helped by the government and then giving statements about my

 6     client going to be indicted and he never was and he never

 7     will be.   So I'd ask the court not to consider that aspect

 8     of his background.

 9                 And then, lastly, which is the last argument of

10     Mr. Paulsen that, oh, and by the way, in state court they

11     get 60 months, that's so far from the truth.         They get

12     60 months, but it's 40 months.       You get a third off.      And

13     then from the 40, you are going to get less time than that

14     if you do some of the programs in state court.          So the

15     sentences are about the same.

16                 And I'd ask the court to sentence him to the

17     guideline sentence.     There's nothing unusual about this

18     case.    The key factor here is that the probation office

19     found nothing unusual.      The government didn't object to the

20     presentence investigation report.       Then all of a sudden

21     after that they bring a motion for a variance and argue

22     innuendo and suspicion and not real facts.         The idea that he

23     can be sentenced because he's a suspect in a murder case

24     that's nine years old is just unreasonable and unfair, Your

25     Honor.   And I would ask the court to sentence my client



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 1     within the guidelines, and the median is 40 months.

 2                 And also -- I'll say it now -- he has a bullet in

 3     his leg.   He's been suffering from that at the jail for a

 4     long period of time.      And I would ask that he be allowed to

 5     turn himself in.     He spent six months on conditional

 6     release.   He was gainfully employed.       He worked.    He had a

 7     job.   He didn't take drugs.      He behaved himself for six

 8     months, Your Honor.      And he did leave for an hour.         A dumb

 9     thing to do.    Stupid.    He's not the smartest person in the

10     world with respect to rules, because he's not had that many

11     in his life.    But as far as if you did give him voluntary

12     surrender, he would be able to go to the hospital, get the

13     bullet removed before he goes off to do his sentence, so --

14                 And I would ask the court also, as far as the

15     prison term, to be at Rochester so that if there's any

16     follow up on the bullet being extracted, it could be done

17     there.

18                 THE COURT:    Well, and I will make a

19     recommendation.     Of course, it can be down there initially

20     too.

21                 MR. GRAY:     Yes.

22                 THE COURT:    And maybe a better job because, you

23     know, Rochester Medical Center has a lot of doctors right

24     out of Mayo, and so you may end up with a Mayo doctor if you

25     go to Rochester.     So I will make that recommendation.



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 1                 MR. GRAY:    Okay.   Thank you, Your Honor.

 2                 THE COURT:   Anything else?

 3                 MR. GRAY:    No.   That's it.   I just -- I've known

 4     the guy for a year now, and he seems to have turned his life

 5     around with the conditional release.        I was very

 6     disappointed in him, as he knows, for not -- for leaving for

 7     an hour and coming back.       He -- I don't think he understood

 8     the magnitude of it, Your Honor.       Thank you.

 9                 THE COURT:   Okay.    Mr. Howell, you get a chance to

10     address the court also, if you wish.        Anything you would

11     like to say this afternoon?

12                 THE DEFENDANT:     I would like to apologize for my

13     actions.   I am responsible for my actions.        And I've been

14     having time to think, and I have a clear mind.          And, yes, I

15     do feel that I should be getting -- getting what I am

16     getting for my consequences.       That's not good.     I had made

17     not smart decisions and things like that, but that's not who

18     I am, who they say that I am, not who they say I am in the

19     papers, not any of that.       And I just like to just to

20     apologize for disrespecting the law in the courtroom, Your

21     Honor, and just work on being a law-biding citizen.            So I

22     would like to get a second chance to show I can prove that.

23                 THE COURT:   Okay.    All right.    Well, that's what

24     we all hope you will do, is become a law-abiding citizen at

25     some point.



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 1                 THE DEFENDANT:    Yes.

 2                 THE COURT:   Okay.    Thank you.

 3                 Mr. Paulsen, on behalf of the government.

 4                 MR. PAULSEN:    Well, if we're going to compare this

 5     case to state court, 60 months is what you get in state

 6     court for one gun.     There's three guns associated with Mr.

 7     Howell, and the first one, as you know, was the one in

 8     Denver.

 9                 And when Mr. Gray says it was a bulge, it wasn't a

10     gun, he's not being candid because an officer saw Mr. Howell

11     reach into the waistband and remove that bulge, put it up on

12     a closet shelf and then run out the door.         When they went

13     into that closet shelf, they recovered the gun.          The bulge

14     was the gun.

15                 He's not being held accountable for that gun here,

16     and he probably never will be, because he ran away, he

17     jumped bond on that case in 2012, after using a false name,

18     which is why it was hard for us to find him originally.         So

19     he will never be punished for that.

20                 I bring that up because if that gun were part of

21     this case, if we had jurisdiction over it, then there would

22     be three or more firearms and there would be a 2-level

23     enhancement and he would be looking at 46 to 57 months under

24     the guidelines.     We don't have that because he ran away from

25     that charge, but I throw that out there just to refute when



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 1     Mr. Gray says this is just one incident with one gun and a

 2     minor criminal record.      I dispute that.

 3                 His prior felony, by the way, is assault by

 4     strangulation, domestic assault by strangulation.          It's a

 5     crime of violence, obviously.

 6                 As far as my references in the pleading to the

 7     triple murder, I prosecuted that case.        And I don't throw

 8     that out there lightly.      It is not innuendo.     It is not

 9     speculation.    It is hard evidence.      Chris Wilton and I

10     prosecuted that case.      And I took the time to review my

11     appellate brief, because it's loaded with the references to

12     Mr. Howell.    And two of the victims of that triple murder

13     are in the courtroom today.       The mother of the male victim

14     is seated out there in the front row, and the little girl

15     who saw her mother and sister get executed is in the

16     courtroom too.    She's grown up now, she's 19, but I think

17     she was about 9 years old then, and she testified at that

18     trial against Lindsey and Raleigh.        And the reason I bring

19     it up is because it was not me, but the reporters who

20     covered that trial who called when they saw Mr. Howell had

21     been charged.    They called and said, Is this the same Howell

22     from the triple murder case?       And we didn't put out press

23     releases.    Mr. Gray says and accuses us of unprofessional

24     conduct.    The reporter called me to confirm whether it's the

25     same one.    And I said yes.    And then all I said was he was



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 1     and is a suspect, and he is, and it is based on speculation,

 2     but hard evidence.      I summarized it in my pleading.         If

 3     anybody wanted to go to that trial transcript, they would

 4     see it.    We also summarized it at the original detention

 5     hearing in this case.      Basically, his phone was bouncing off

 6     the cell tower of the crime scene at the time of the

 7     murders, and he was having contact with both Lindsey and

 8     Raleigh, the two people that were convicted of those

 9     murders.

10                 And there was other evidence as well.        Raleigh

11     admitted to somebody who testified at trial that it was him

12     and Lindsey and two other guys, one of them was Filthy Phil.

13     That's this defendant.      So it's not rumor and speculation.

14     And I understand he hasn't been charged, but the court can

15     consider reliable, credible evidence, and it is reliable and

16     credible.

17                 I oppose voluntary surrender.       He does have a

18     bullet in his leg.      It's because he got shot the day before

19     he committed this offense.       And the evidence from the crime

20     scene indicates it was a gun battle, that he shot back.              And

21     the next day -- he goes to the hospital and was released

22     right away.    And the next day he's out in a car driving

23     around with a .45 caliber gun.       Now, what do you suppose he

24     was going to go do?      He was going to go retaliate against

25     the person who shot him.       And likely the police were on to



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 1     him.   They pulled him over.      They caught him with the .45

 2     caliber gun that he pled guilty to.        So I oppose any release

 3     and voluntary surrender, because his behavior indicates that

 4     if he had the chance he would probably go try to retaliate.

 5                 And the thing about him leaving the halfway house

 6     for one hour, Mr. Gray says, well, that's the only time we

 7     know about, but he got caught that time and he had some

 8     excuse about going to some family gathering.          There was no

 9     evidence ever presented that there was a family gathering.

10     We will never know what he was up to that night, but I don't

11     think he would have run the risk of going back to jail

12     unless it would have been something illegal and nefarious

13     that he had to go do that night.

14                 So I am asking for a modest upward variance.         I

15     think it's supported both by the guidelines.          If that third

16     gun were part of this case, it would be what I am asking

17     for, virtually, but it's supported by his entire history and

18     the way he's behaved on the street and even while at the

19     halfway house awaiting sentencing.        I ask for 60 months.

20                 MR. GRAY:    May I respond, Your Honor?

21                 THE COURT:    I don't know, Mr. Gray.      If you

22     respond, then I have to allow Mr. Paulsen to respond.

23                 MR. GRAY:    All right.

24                 THE COURT:    You know, I don't think so.       I think I

25     understand what happened, and I think I understand the



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 1     arguments made by both of you.       I'm going to take them both

 2     into consideration in my sentence, so --

 3                 But as you counsel both know, I have to make some

 4     findings of fact.     In this case the findings of fact haven't

 5     been objected to and I will adopt.

 6                 But defendant objects to the statements in the PSR

 7     that he previously served an imprisonment sentence of four

 8     months.    Defendant asserts that he only served fifteen days.

 9                 Now, ruling on this objection is not necessary

10     because the controverted facts will not affect sentencing.

11     That's under Federal Criminal Rule 32(i)(3)(B).          However,

12     there being no other objections, as I already indicated, the

13     court will adopt the statements in the PSR as its findings

14     of fact.

15                 As far as -- excuse me -- as far as the

16     application of the guidelines to the facts, a question has

17     arisen regarding the application of the guidelines.

18                 Defendant argues that the presentence

19     investigation incorrectly assigns him two criminal history

20     points for committing the offense in Count 1 of the

21     superseding indictment while on probation.         Now, defendant

22     was previously sentenced to a two-year probationary period

23     that ended on April 16th, 2015.        On August 8th, 2014,

24     defendant was found in possession of the firearm in Count 2

25     of the superseding indictment.       Defendant pleaded guilty



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 1     only to Count 1, but stipulated in his plea agreement that

 2     the firearm in Count 2 could be held or should be held

 3     against him for purposes of sentencing pursuant to

 4     Guidelines Section 1B1.2(c).       And, thus, the presentence

 5     investigation report correctly assigns defendant two

 6     criminal history points under Guideline Section 4A1.1(d) for

 7     committing the offense in Count 2 while on probation.           And

 8     the court, therefore, will overrule defendant's objection.

 9                  Accordingly, the court determines that the

10     applicable guidelines are as follows:         A total offense level

11     of 19, with a Criminal History Category of III, might lead

12     to an imprisonment range of 33 to 46 months, supervised

13     release of 1 to 3 years, a fine range of 6,000 to $60,000

14     and a special assessment of $100.

15                  MR. PAULSEN:   Your Honor, did you -- I think you

16     might have had the guidelines range wrong.         Isn't it 37 to

17     46 months?

18                  MR. GRAY:    I hate to say it, but I agree with Mr.

19     Paulsen on that.

20                  MR. PAULSEN:   I thought you said 33 to 46.

21                  THE COURT:   I said 33 all right.

22                  MR. GRAY:    It's 37, Your Honor.

23                  THE COURT:   I'm going to check with probation, not

24     that I don't believe you guys.

25                  Does the probation officer agree?



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 1                  PROBATION OFFICER:    That is correct, judge.

 2                  THE COURT:   33?

 3                  PROBATION OFFICER:    37 to 46.

 4                  THE COURT:   37 to 46.    We will correct that.

 5                  So would the record please show that it is 37 to

 6     46 months.

 7                  I was about to announce what the statutory

 8     requirements are.     The statute under which defendant has

 9     been convicted sets a maximum term of imprisonment of 10

10     years, a maximum term of supervised release of 3 years and a

11     maximum fine of $250,000.

12                  And, by the way, I should thank you for bringing

13     it up.    We didn't want to make a mistake, and I didn't want

14     to just slip over that without thanking both of you.

15                  Now, the government has moved for an upward

16     departure or variance, asserting that the guideline range

17     does not adequately reflect defendant's dangerousness or his

18     likelihood to reoffend.      The government notes that defendant

19     has been charged in Denver with being a felon in possession,

20     but that authority will not -- but the authorities there

21     will not extradite him.      The government also notes

22     defendant's alleged involvement in a triple homicide that

23     occurred in St. Paul in 2007.       And, essentially, the

24     government urges the court to punish defendant here for

25     those offenses.     Doing so, however, requires the court to



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 1     rely on facts that have not been proved and raises due

 2     process concerns to the court.

 3                 I am very sorry for the people that are sitting

 4     here.    I am very sorry that you are here, and I am very

 5     sorry that you had to undergo what you did based on whatever

 6     you believe happened.

 7                 But because the court determines that the

 8     circumstances of this case do not warrant an upward

 9     departure and, therefore, I am going to deny the

10     government's motion.

11                 Mr. Howell, you have been charged in Count 1 of

12     the superseding indictment with being a Felon in Possession

13     of a Firearm, in violation of 18 United States Code Sections

14     922(g)(1) and 924(a)(2).

15                 And based upon your plea of guilty to that charge,

16     it is considered and adjudged that you are guilty of that

17     offense.

18                 And, therefore, it is adjudged that you are

19     committed to the custody of the United States Bureau of

20     Prisons for imprisonment for a term of 46 months.

21                 As I have indicated, I will recommend Rochester be

22     the place of confinement.

23                 Further, it is ordered that pursuant to 18 United

24     States Code Section 3583 you are to serve a term of

25     supervised release of 3 years under the following



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 1     conditions:

 2                  First, you shall report to the U.S. Probation and

 3     Pretrial Services Office in the district in which you are

 4     released within 72 hours of release from the custody of your

 5     imprisonment.

 6                  Second, you shall not commit any crimes, federal,

 7     state or local.

 8                  Third, you shall not illegally possess a

 9     controlled substance.      You shall refrain from any unlawful

10     use of a controlled substance.       You shall submit to one drug

11     test within 15 days of release from imprisonment and at

12     least two periodic drug tests thereafter as determined by

13     the court.

14                  Fourth, you shall not possess a firearm,

15     ammunition, destructive device or any other dangerous

16     weapon.

17                  And, fifth, you shall cooperate in the collection

18     of DNA as directed by the probation officer.

19                  You shall also abide by the standard conditions of

20     supervised release that have been adopted by the court,

21     including the following special conditions:

22                  First, you shall complete an immediate assessment

23     or participate in a program for substance abuse as approved

24     by the probation officer upon release or relapse during your

25     term of supervised release.       That program may include



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 1     further testing and inpatient or outpatient treatment,

 2     counseling or support group.       Further, you shall continue --

 3     I'm sorry -- shall contribute to the costs of such treatment

 4     as determined by the Probation Office Copayment Program, not

 5     to exceed the total cost of treatment.

 6                  Second, you shall submit your person, residence,

 7     office, vehicle or an area under your control to a search

 8     conducted by a United States Probation Officer or supervised

 9     designee, at a reasonable time and in a reasonable manner,

10     based upon a reasonable suspicion of contraband or evidence

11     of supervision violation.       You shall warn any other

12     residents or third parties that the premises or areas under

13     your control may be subject to searches pursuant to this

14     condition.

15                  Third, if not employed in a regular lawful

16     occupation as deemed appropriate by the probation officer,

17     you may be required to perform up to 20 hours of community

18     service per week until employed.        And you may also

19     participate in training, counseling, daily job search or

20     other employment-related activities as directed by the

21     probation officer.

22                  No fine will be imposed; however, pursuant to 18

23     United States Code Section 3013, you must pay to the United

24     States a special assessment of $100, which is due

25     immediately.



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 1                 Now, the court finds that the sentence imposed is

 2     appropriate and reasonable in light of the considerations

 3     set forth in 18 United States Code Section 3553(a).             The

 4     court has taken into account the nature and circumstances of

 5     the instant offense, as well as the history and

 6     characteristics of the defendant, and finds that the

 7     sentence imposed is sufficient, but not greater than

 8     necessary, to afford adequate deterrence to future criminal

 9     conduct.

10                 No fine will be imposed because of defendant's

11     inability to pay a fine, due to his pending incarceration.

12                 The court does now accept the plea agreement in

13     this case because it is satisfied that the agreement

14     adequately reflects the seriousness of the defendant's

15     offense behavior and that accepting the plea agreement will

16     not undermine the statutory purposes of sentencing.

17                 Now, Mr. Howell, you can appeal this case, if you

18     wish.    You talk with your counsel Mr. Gray, find out what

19     you want to do.     If you decide to appeal, you must file a

20     notice of appeal within 14 days of today, otherwise you will

21     give up that right.      Do you understand that?

22                 THE DEFENDANT:     Yes.

23                 THE COURT:    And if you decide to appeal and you

24     can't afford an appeal or can't afford a lawyer, the

25     government will provide the funds for you to hire a lawyer



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 1     or pay for or give your lawyer and will also pay the costs

 2     and expenses of the appeal.        Do you understand those rights

 3     you have?

 4                 THE DEFENDANT:     Yes.

 5                 THE COURT:    All right.    I think there is still

 6     Count 2 of the superseding indictment outstanding.

 7                 MR. PAULSEN:    I move to dismiss that count at this

 8     time.

 9                 THE COURT:    And without objection, that motion

10     will be granted.

11                 There was a forfeiture issue and I think -- has

12     that been satisfied totally at this point?         I know I signed

13     off on the stipulation concerning the ownership of that gun.

14                 MR. PAULSEN:    Yes, I saw that order.      I think it's

15     been resolved, Your Honor.

16                 THE COURT:    Is there going to be anything else on

17     the other gun?

18                 MR. PAULSEN:    I don't believe so.

19                 THE COURT:    Okay.    So that should be all, right?

20                 MR. PAULSEN:    Yes.

21                 THE COURT:    All right.    Do you want to say

22     anything or anything more about -- I'm not going to grant

23     the motion to allow voluntary surrender.

24                 Anything else that should come before the court?

25                 MR. GRAY:    May I talk to my client for just a --



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 1                 THE COURT:    You may.

 2                (Defendant and his attorney are speaking.)

 3                 MR. GRAY:    Your Honor, could we have Rochester?

 4     Could you designate Rochester?

 5                 THE COURT:    I did.   I said I would.

 6                 MR. GRAY:    Oh, did you?    Okay.

 7                 THE COURT:    I said I would recommend it, you know.

 8     And I hope you tell your client just because the judge

 9     recommends it, it doesn't mean it is going to happen.

10                 MR. GRAY:    No.   I understand.

11                 THE COURT:    As a matter of fact, I think maybe it

12     was you that told me one time -- it was either you or one of

13     your cohorts that told me one time that they'd just as soon

14     not have a recommendation, because if you make a

15     recommendation the Bureau of Prisons for sure won't do it,

16     but otherwise by luck you might get it.

17                 So, Mr. Howell, just so you know, the chances of

18     you getting into Rochester are not --

19                 THE DEFENDANT:     Guaranteed.

20                 THE COURT:    Not biddable.    Let's put it that way.

21                 THE DEFENDANT:     Okay.

22                 THE COURT:    Anything else?

23                 MR. PAULSEN:    Not from the government.

24                 MR. GRAY:    No, Your Honor.     Thank you.

25                 THE COURT:    All right.    Court's going to stand in



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 1     recess until 2:30.

 2                 THE CLERK:    All rise.

 3                 (Court adjourned at 2:26 p.m., 4-18-2016.)

 4                                    *   *   *

 5                I, Renee A. Rogge, certify that the foregoing is a

 6     correct transcript from the record of proceedings in the

 7     above-entitled matter.

 8                            Certified by:       /s/Renee A. Rogge
                                                  Renee A. Rogge, RMR-CRR
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                           RENEE A. ROGGE, RMR-CRR
                               (612)664-5107
